 Case 3:16-cv-00905-RJD Document 53 Filed 01/18/18 Page 1 of 1 Page ID #129



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

KASKASKIA ENGINEERING                            )
GROUP, LLC.,                                     )
                                                 )   Case No. 3:16-cv-905-RJD
                Plaintiff,                       )
                                                 )
   vs.                                           )
                                                 )
TODD REYLING and REYLING                         )
DESIGN AND CONSULTING, LLC,                      )
         Defendants.                             )

                              JUDGMENT IN A CIVIL CASE
         DECISION BY THE COURT. This matter having come before the Court upon

Stipulation of Dismissal filed by the parties.

         IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the Order entered by

this Court on January 17, 2018, this case is DISMISSED with prejudice. Each party to bear their

own costs.

         DATED: January 18, 2018.                    JUSTINE FLANAGAN, ACTING CLERK

                                                     By: s/Jamie Melson
                                                            Deputy Clerk


APPROVED:

s/ Reona J. Daly
HON. REONA J. DALY
UNITED STATES MAGISTRATE JUDGE
